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                               UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF RHODE ISLAND (Providence)

In Re:                                                   Case Number 1:18-bk-10071
David W. Wagner                                          Chapter 7


      DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR SOUNDVIEW HOME
      LOAN TRUST 2006-OPT5, ASSET-BACKED CERTIFICATES, SERIES 2006-OPT5
      AND/OR ITS SUCCESSORS AND ASSIGNS,

                           Movant.

      v.

      DAVID W. WAGNER,

                           Debtor.


           MOTION OF DEUTSCHE BANK NATIONAL TRUST COMPANY, AS TRUSTEE FOR
            SOUNDVIEW HOME LOAN TRUST 2006-OPT5, ASSET-BACKED CERTIFICATES,
           SERIES 2006-OPT5 FOR RELIEF FROM THE AUTOMATIC STAY AND FOR LEAVE
             TO FORECLOSE MORTGAGE AND MEMORANDUM IN SUPPORT THEREOF

                   Deutsche Bank National Trust Company, as Trustee for Soundview Home Loan Trust
      2006-OPT5, Asset-Backed Certificates, Series 2006-OPT5 (hereinafter referred to as the “Movant”),
      a secured creditor, hereby moves this Court for Relief from the Automatic Stay pursuant to
      Bankruptcy Rules 4001 and 9014 and 11 U.S.C. Section 362(d) and for leave to foreclose a certain
      mortgage encumbering the property owned by the Debtor, known as 55 Downing Street, East
      Greenwich, RI 02818. In support of this Motion, Movant states as follows:


1.                 This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. 1334 and 28
           U.S.C. 157(b)(2)(G). This case relates to a case under Title 11 of the United States Code (the
           “Bankruptcy Code”). This proceeding is a “core” proceeding as this term is defined in the Code.
2.                 On January 17, 2018, David W. Wagner (hereinafter referred to as the “Debtor”) filed a
           voluntary Chapter 7 Petition in Bankruptcy.
3.                 Movant is the current holder of a certain mortgage given by the Debtor to Option One
           Mortgage Corporation in the original principal amount of $724,500.00 dated May 25, 2006, and
           in recorded with the Town of East Greenwich Land Evidence Records in Book 834, Page 173
           (the “Mortgage”). A copy of the Mortgage is attached hereto as Exhibit A.




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4.            The Mortgage secures a promissory note of even date and original principal amount
      given by the Debtor to Option One Mortgage Corporation (the “Note”) of which Movant is the
      current holder. A copy of the Note is attached hereto as Exhibit B.
5.            Sand Canyon Corporation f/k/a Option One Mortgage Corporation assigned the Mortgage
      to the Movant by assignment dated September 5, 2012, and recorded with the Town of East
      Greenwich Land Evidence Records in Book 1173, Page 148, a copy of which is attached hereto
      as Exhibit C. The current loan servicer for the Movant is Ocwen Loan Servicing, LLC.
6.            The Mortgage encumbers real property known as 55 Downing Street, East Greenwich, RI
      02818 (hereinafter referred to as the “Property”). Copies of the Mortgage and Note are attached
      hereto as Exhibit A and Exhibit B respectively. The Mortgage is in first lien position. Aside
      from the Property, there is no other collateral securing the Debtor’s obligation to Movant.
7.            The Debtor has defaulted on the Note and Mortgage by failing to make regular payments
      to Movant.
8.            As of January 26, 2018, the balance due Movant on the Note was approximately
      $764,716.04 (may not include negative escrow balances or recent escrow advances). The full
      amount of the Movant’s claim together with allowable post-petition interest, reasonable attorney
      fees, court costs, and other recoverable expenses is secured by the Mortgage.
9.            According to a Broker’s Price Opinion dated December 7, 2017, the fair market value of
      the Property is $530,000.00. The liquidation value of the Property is $500,562.00 based upon a
      usual and customary broker’s commission of $26,500.00 (5% of stated fair market value), deed
      stamps of $2,438.00, and $500.00 in miscellaneous estimated closing costs. A copy of the
      Broker’s Price Opinion is attached hereto as Exhibit D.
10.           As of January 26, 2018, the Debtor’s mortgage account is due for the October 1, 2016
      contractual due date. The current monthly payment is $4,895.10, subject to such subsequent
      adjustment as may be specified in the note.
11.           As of January 26, 2018, Debtor owed Movant a total contractual arrearage of $81,757.83
      calculated as follows:
      - 2 monthly payments (10/01/16 - 11/01/16) at $4,490.80/mo.            $8,981.60
      - 12 monthly payments (12/01/16 - 11/01/17) at $4,646.68/mo.          $55,760.16
      - 2 monthly payments (12/01/17 - 01/01/18) at $4,895.10/mo.            $9,790.20
      - Late Charges                                                         $2,371.32
      - Property Inspection Fees                                               $232.75
      - Property Valuation Fees                                                  $85.00
      - Foreclosure Fees/Costs                                               $4,036.56
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         - Title Report Fees                                                            $500.24
         ____________________________________________________________
         Total Contractual Arrearage                                                $81,757.831
12.              In addition to the Mortgage to Movant, there are outstanding liens on the Property as
         follows:
                 Lien                      Type                   Amount                Book/Page
                Movant                 1st Mortgage             $764,716.04              834/173
       American Express                Execution                  $58,494.73             1242/248
      Internal Revenue Service         Federal Tax Lien          $43,291.10             1040/257
      Internal Revenue Service         Federal Tax Lien          $139,550.00             1040/258
      Internal Revenue Service         Federal Tax Lien          $161,873.88             1158/323
      Internal Revenue Service         Federal Tax Lien          $103,437.98              1186/244
      RI Dept. of Revenue              State Tax Lien             Unknown                 1250/93
      Eric Hassman                    Execution                  $131,119.89              1366/66


         The total of all liens on the Property is approximately $1,402,483.62.
13.              Movant is entitled to Relief from the Automatic Stay for cause pursuant to Section
         362(d)(1) of the Code inasmuch as the Debtor has failed to make regular monthly mortgage
         payments to the Movant in violation of the terms of the Note and Mortgage.
14.              Movant is entitled to Relief from the Automatic Stay and leave to foreclose its mortgage
         pursuant to 11 U.S.C. Section 362(d)(2) in that the Debtor has no equity in the Property above
         and beyond the Property’s liquidation value and the Property is not necessary to an effective
         reorganization of the Debtor.
15.              Ocwen Loan Servicing, LLC services the underlying mortgage loan and note for the
         property referenced in this Motion for Deutsche Bank National Trust Company, as Trustee for
         Soundview Home Loan Trust 2006-OPT5, Asset-Backed Certificates, Series 2006-OPT5
         (hereinafter referred to as the “Noteholder”) and is entitled to proceed accordingly. Should the
         Automatic Stay be lifted and/or set aside by Order of this Court or if this case is dismissed or if
         the Debtor obtains a discharge and a foreclosure action is commenced or recommenced, said
         foreclosure action will be conducted in the name of the Noteholder. The Noteholder has the right
         to foreclose because Noteholder is the original mortgagee or beneficiary or assignee of the
         security instrument for the referenced loan. Noteholder directly or through an agent has
         possession of the promissory note and the promissory note is either made payable to Noteholder
         or has been duly endorsed.


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  As of the date of this motion, Movant has incurred approximately $750.00 in attorney fees and $181.00 in attorney
costs in connection with this motion. This amount will increase if counsel for Movant performs additional services
for Movant in connection with this motion.
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16.            Within fourteen (14) days after service, if served electronically, as evidenced by the
       certification, and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served
       by mail or other excepted means specified, any party against whom such paper has been
       served, or any other party who objects to the relief sought, shall serve and file an objection
       or other appropriate response to said paper with the Bankruptcy Court Clerk's Office, 380
       Westminster Street, 6th Floor, Providence, RI 02903, (401) 626-3100. If no objection or
       other response is timely filed, the paper will be deemed unopposed and will be granted
       unless: (1) the requested relief is forbidden by law; (2) the requested relief is against public
       policy; or (3) in the opinion of the Court, the interest of justice requires otherwise.


WHEREFORE, Movant requests that this Honorable Court:
(a)    Grant Movant Relief from the Automatic Stay pursuant to 11 U.S.C. Section 362(d) and for leave
       to Foreclose Mortgage, allowing Movant, its successors or assigns to foreclose said mortgage
       (including, at its sole option, leave to accept a deed-in-lieu of foreclosure from the Debtor, their
       heirs, successors, assigns or transferees); and for it or a third party purchaser to prosecute
       summary process proceedings to evict any persons residing in the Property.
(b)    In the alternative, order Debtor to provide Movant with adequate protection of its claim; and
(c)    Grant such other Relief as this Honorable Court may deem just.




Date: February 5, 2018


                                                Respectfully submitted,
                                                Deutsche Bank National Trust Company, as Trustee for
                                                Soundview Home Loan Trust 2006-OPT5, Asset-Backed
                                                Certificates, Series 2006-OPT5
                                                By its attorney,

                                                /s/ Catherine V. Eastwood
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